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OSHM ll hli 6- sTERN DISTRICT oF TENNESSEE
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THE TEK` OAK»PME thURANcE '~=lf- f-. --
CoM A
Plaintiff,
VS- CiviiAcri<m No. 03-2939_r)
BROAN NUroNE LLC,
Det`endant.

 

Joint Motion for Continuance and Withdraw of Previous Filed Motions

 

Comes now your Defendant Broan Nutone and Plaintiff Charter Oak and tiles this
Joint Motion for Continuance. The parties submit to the Court that Plaintiff’ s expert
is being deposed on experiments he has conducted which plaintiff believes are
demonstrative of previous testimony and which Defendant has not yet had an
opportunity to characterize The parties respectfully after consultation request the
Court for the following relief:

l. That the parties be given a brief continuance in the nature of two to three months
during which plaintiff s expert can be redeposed on May lO, 2005, defendant’s
expert can review the new information and can add by written submission any

additional opinions that are necessary

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Plaintit`f will have the opportunity to redepose Defendant’s expert if they so desire

on the new Written submissions MOT|(Y GRANTED

 

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3. Defendant’s shall have the right to petition the Court by Motion to supplement
expert disclosures ifDefendant believes that it will require new experts to counter
the Plaintift’s experts opinions discovered in the deposition on May lO, 2005.
Plaintiff will reserve the right to oppose said motion.

4. The following motions would be withdrawn: Broan’s motion for exclusion and
continuance, Charter Oal<’s opposition, Charter Oal<’s motion for sanetions, and
Charter Oak’s withdraw of its motion for sanctions

Respectfully Submitted,

The Law Office of Edward Beannan

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CV-02989 was distributed by fax, mail, or direct printing on
May 18, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

